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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
PACE-O-MATIC, INC.,                       :   Civil No. 1:20-CV-00292
                                          :
            Plaintiff,                    :
                                          :
            v.                            :
                                          :
ECKERT, SEAMANS CHERIN &                  :
MELLOTT, LLC,                             :
                                          :
            Defendant.                    :   Judge Jennifer P. Wilson
                                     ORDER
      AND NOW, on this 27th day of January, 2022, IT IS ORDERED THAT

this matter is referred to Chief United States Magistrate Judge Karoline

Mehalchick for assignment to a United States Magistrate Judge for the purpose of

conducting a settlement conference. IT IS FURTHER ORDERED THAT the

preliminary injunction hearing previously scheduled for April 28, 2022 at 9:30

a.m. is CANCELLED.

                                      s/Jennifer P. Wilson
                                      JENNIFER P. WILSON
                                      United States District Court Judge
                                      Middle District of Pennsylvania
